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                                                   Staci Turner, M.D. 12/18/2024


·1· · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · ·FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

·3

·4· ·CATINA PARKER, as· · · ·)
· · ·Personal Representative )
·5· ·of the Estate of· · · · )
· · ·LEONARD PARKER, JR.,· · )
·6· ·Deceased,· · · · · · · ·)
· · · · · · · · ·Plaintiff,· )
·7· · · · · vs.· · · · · · · )1:21-CV-217 HSO-RHWR
· · ·THE CITY OF GULFPORT,· ·)
·8· ·a municipal corporation;)
· · ·JASON CUEVAS, in his· · )
·9· ·individual and official )
· · ·capacity,· · · · · · · ·)
10· · · · · · · ·Defendants. )

11

12· · · · · The Zoom Video Conference Discovery

13· ·Deposition of STACI TURNER, M.D., called for

14· ·examination pursuant to the Rules of Civil

15· ·Procedure for the United States District

16· ·Courts pertaining to the taking of depositions,

17· ·taken before MARLENE L. KING, a Certified

18· ·Shorthand Reporter within and for the County

19· ·of Cook and State of Illinois, on December 18,

20· ·2024, at the hour of 10:09 o'clock a.m.

21

22

23· · · · · REPORTED BY:· MARLENE L. KING, C.S.R.

24· · · · · LICENSE NO.:· 084-003326.


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·1· ·within this document, is that right?

·2· · · ·A.· ·Yes.

·3· · · ·Q.· ·And you created this document in the

·4· ·course of regular business for the Office of the

·5· ·State of the Medical Examiner?

·6· · · ·A.· ·Yes.

·7· · · ·Q.· ·I'm looking here at Page 2 of Exhibit 1

·8· ·where there is a bold title Evidence Of Injury

·9· ·near the bottom of the page.· Can you see that?

10· · · ·A.· ·Yes.

11· · · ·Q.· ·What is the purpose of the Evidence Of

12· ·Injury section?

13· · · ·A.· ·To document the injuries that

14· ·Mr. Parker had.

15· · · ·Q.· ·And what injuries did you document?

16· · · ·A.· ·Two gunshot wounds, one of the face,

17· ·one of the left index finger, and then toward

18· ·the bottom of that section the abrasions and

19· ·laceration of his face.

20· · · ·Q.· ·Okay.· I'd like to ask you questions

21· ·first about the gunshot wound of the face and

22· ·neck that's at the top of Page 3.

23· · · ·A.· ·Yes.

24· · · ·Q.· ·Where was that -- strike that.


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·1· · · · · · I believe you identified an entrance

·2· ·wound, is that correct?

·3· · · ·A.· ·Yes.

·4· · · ·Q.· ·Where was the entrance wound located?

·5· · · ·A.· ·It was in the left cheek within his

·6· ·beard.

·7· · · ·Q.· ·And it looks like you measured a

·8· ·one-fourth inch in diameter round gunshot wound.

·9· ·Is that the size of the wound itself?

10· · · ·A.· ·Yes.

11· · · ·Q.· ·And then you indicated that there is --

12· ·that it was located six and a half inches below

13· ·the top of the head and three and a half inches

14· ·left of the midline, is that right?

15· · · ·A.· ·Yes.

16· · · ·Q.· ·What's the midline?

17· · · ·A.· ·The middle of the face, if you can

18· ·picture a line from the forehead to the chin.

19· · · ·Q.· ·You also indicate on Page 3 that there

20· ·was no soot or stippling on the skin, is that

21· ·right?

22· · · ·A.· ·That's correct.

23· · · ·Q.· ·What does that mean?

24· · · ·A.· ·When the bullet comes out of the end


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·1· ·of the gun, smoke, some flame, and gunpowder

·2· ·particles also exit.· If those are deposited

·3· ·on the skin, it can help give an indication how

·4· ·far away the gun was from the skin when it was

·5· ·fired.

·6· · · ·Q.· ·And there's no evidence of that for

·7· ·Mr. Parker, is that right?

·8· · · ·A.· ·That's correct.

·9· · · ·Q.· ·Can you describe the injuries

10· ·associated with the gunshot wound of the face

11· ·and neck?

12· · · ·A.· ·Yes.· The bullet went through the left

13· ·side of his mandible, which is his jawbone.· It

14· ·then went through soft tissue in the neck, and

15· ·it penetrated into his cervical spine in the

16· ·fourth cervical vertebral body.

17· · · ·Q.· ·I'm gonna show you what I'll mark as

18· ·Exhibit 2.· One second here.· I'm showing you

19· ·what I have marked as Exhibit 2.· Do you see

20· ·that?

21· · · ·A.· ·Yes.

22· · · ·Q.· ·Okay.· And will you agree that Exhibit

23· ·2 is a sample skeleton of a human body from

24· ·around the chest up to the head?


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·1· ·BY MS. RAVEENDRAN:

·2· · · ·Q.· ·Generally speaking do you know if the

·3· ·type of injury that Mr. Parker received from a

·4· ·bullet wound to his cheek lodging in his spine

·5· ·could be painful?

·6· · · ·A.· ·It's possible.

·7· · · ·Q.· ·And would you agree that Mr. Parker

·8· ·could have been aware of the injury immediately

·9· ·as it was occurring?

10· · · ·MR. BRUNI:· Object to the form.

11· · · ·MS. LIND:· Join.

12· · · ·THE WITNESS:· It's possible.

13· ·BY MS. RAVEENDRAN:

14· · · ·Q.· ·Were you able to gather any information

15· ·about the path of the bullet that entered

16· ·Mr. Parker's cheek?

17· · · ·A.· ·Yes.· It traveled left to right

18· ·downward and slightly front to back.

19· · · ·Q.· ·Can you describe what is meant by

20· ·slightly front to back?

21· · · ·A.· ·Not at a sharp angle.

22· · · ·Q.· ·Did you find any evidence within

23· ·Mr. Parker's body that the bullet was deflected

24· ·once it entered his body?


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·1· · · ·A.· ·No.

·2· · · ·Q.· ·Were you able to tell if the bullet

·3· ·followed a straight line path after entering

·4· ·Mr. Parker's body?

·5· · · ·A.· ·Yes, it did.

·6· · · ·Q.· ·Would the wound path created from

·7· ·Mr. Parker's left cheek to his C-4 vertebrae be

·8· ·consistent with Mr. Parker receiving a gunshot

·9· ·from someone to his left?

10· · · ·MS. LIND:· Object to form.

11· · · ·THE WITNESS:· Yes.

12· ·BY MS. RAVEENDRAN:

13· · · ·Q.· ·Would the wound path created by the

14· ·injury from Mr. Parker's left cheek to his C-4

15· ·be consistent with Mr. Parker being shot with

16· ·a muzzle to his left, if you can tell?

17· · · ·MR. BRUNI:· Object to the form.

18· · · ·THE WITNESS:· Yes.

19· ·BY MS. RAVEENDRAN:

20· · · ·Q.· ·Would the path from the left cheek

21· ·to the C-4 vertebrae be inconsistent with

22· ·Mr. Parker being shot with a muzzle being fired

23· ·directly at him without an angle to the left or

24· ·right?


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·1· · · ·MS. LIND:· Object to form.

·2· · · ·MR. BRUNI:· Same.

·3· · · ·THE WITNESS:· No.

·4· ·BY MS. RAVEENDRAN:

·5· · · ·Q.· ·It would be inconsistent with being

·6· ·shot directly at.· Is that fair?

·7· · · ·A.· ·No, it would not.

·8· · · ·Q.· ·I'm sorry.· I feel like maybe did

·9· ·you hear my word?· I said inconsistent.

10· · · ·A.· ·I heard your word.

11· · · ·Q.· ·I just wanted to make sure.· I don't

12· ·know if I'm missing that.

13· · · · · · Would the path of the bullet from

14· ·the left cheek to the C-4 be inconsistent with

15· ·Mr. Parker being fired at from his right side?

16· · · ·A.· ·Yes.

17· · · ·Q.· ·Based on your autopsy did you observe

18· ·any other significant natural medical conditions

19· ·for Mr. Parker?

20· · · ·A.· ·His heart was enlarged at 410 grams.

21· · · ·Q.· ·And based on your review did that have

22· ·any effect on the cause or manner of death that

23· ·you determined?

24· · · ·A.· ·No.


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·1· · · ·Q.· ·Was there any other condition other

·2· ·than the gunshot wounds that you believe caused

·3· ·his death?

·4· · · ·A.· ·No.

·5· · · ·Q.· ·Is shooting a person an act in your

·6· ·experience that can be fatal to human life?

·7· · · ·A.· ·Yes.

·8· · · ·Q.· ·Do you have an opinion to a reasonable

·9· ·degree of medical certainty as to the manner and

10· ·cause of Leonard Parker's death on February 1,

11· ·2020 based on the autopsy you performed?

12· · · ·A.· ·Yes.

13· · · ·Q.· ·And what is that?

14· · · ·A.· ·His cause of death is a gunshot wound

15· ·of the face and neck.· His manner of death is

16· ·homicide.

17· · · ·MS. RAVEENDRAN:· Okay.· Thank you so much.

18· ·I don't have further questions pending any

19· ·followup I might have.

20· · · ·MS. LIND:· We'd like to take a short break

21· ·to confer and see what if any questions we need

22· ·to ask of this witness.

23· · · ·MS. RAVEENDRAN:· Want to take five minutes?

24· ·If that's okay with Dr. Turner, that's fine with


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·1· ·up to his death, correct?

·2· · · ·A.· ·Correct.

·3· · · ·Q.· ·Were you aware that Mr. Parker was the

·4· ·driver of a truck in the period of time leading

·5· ·up to his death?

·6· · · ·A.· ·Not that I recall.

·7· · · ·Q.· ·Okay.· As to the -- I think you

·8· ·testified earlier that the legal limit of

·9· ·alcohol in the State of Mississippi is 0.08,

10· ·correct?

11· · · ·A.· ·Yes.

12· · · ·Q.· ·And Mr. Parker's blood alcohol

13· ·concentration, the result, was 0.185, is that

14· ·correct?

15· · · ·A.· ·Yes.

16· · · ·Q.· ·Would it be fair to say that based

17· ·on this result Mr. Parker's blood alcohol

18· ·concentration was over twice the legal limit

19· ·in the State of Mississippi?

20· · · ·A.· ·Yes.

21· · · ·MS. RAVEENDRAN:· Objection.· Foundation.

22· ·BY MS. LIND:

23· · · ·Q.· ·Are you able to comment at all as to

24· ·whether Mr. Parker's blood alcohol concentration


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·1· ·0.185 had any effect on his ability to drive a

·2· ·vehicle that evening?

·3· · · ·A.· ·No.

·4· · · ·Q.· ·Would you need additional information

·5· ·to provide that opinion?

·6· · · ·A.· ·No.

·7· · · ·Q.· ·There were some questions toward the

·8· ·end of your testimony by the questions of

·9· ·Ms. Raveendran relating to the path of the

10· ·gunshot wound to the left cheek.· Do you recall

11· ·those questions?

12· · · ·A.· ·Yes.

13· · · ·Q.· ·I think you were asked -- and I don't

14· ·know how else to do this because I don't have

15· ·the court reporter here with me to go back and

16· ·look at the testimony about whether or not the

17· ·path of that bullet was inconsistent from him

18· ·being shot straight on.· Am I repeating that

19· ·correctly?

20· · · ·A.· ·As I recall that was the question.

21· · · ·Q.· ·And I think you said -- what was your

22· ·answer?

23· · · ·A.· ·It was not inconsistent.

24· · · ·Q.· ·Can you explain your answer?


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·1· · · ·A.· ·The degree to which it traveled left

·2· ·to right was small, and so it would have just --

·3· ·it could have either come from the front with a

·4· ·slight variation or it could have come more from

·5· ·the left or the head could be turning or the

·6· ·hand holding the gun could be moving.

·7· · · ·Q.· ·Understood.· So it's even possible that

·8· ·he could have been -- Mr. Parker could have been

·9· ·turned and looking at a passenger in his

10· ·vehicle.

11· · · ·A.· ·That's --

12· · · ·MS. RAVEENDRAN:· Objection.· Speculation,

13· ·foundation.

14· · · ·THE WITNESS:· I guess it would depend on

15· ·where the vehicle was and where he was in

16· ·relation to it.· I don't have any way of knowing

17· ·that.

18· ·BY MS. LIND:

19· · · ·Q.· ·Understood.· So if Mr. -- I'm sorry.

20· ·If Mr. Parker was the driver of the vehicle and

21· ·he had a passenger sitting to his right, is it

22· ·possible that he could have been turning and

23· ·looking at his passenger at the time the shot

24· ·was fired?


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·1· · · ·A.· ·Yes.

·2· · · ·Q.· ·Okay.· You had also answered certain

·3· ·questions about pain or being aware, those types

·4· ·of questions prior to Mr. Parker's death.

·5· ·Do you recall that line of questioning?

·6· · · ·A.· ·Yes.

·7· · · ·Q.· ·And I believe you testified that

·8· ·it would have only been possible that he

·9· ·experienced pain or that it is possible that he

10· ·could have been aware.· Did I hear you correctly

11· ·on your testimony?

12· · · ·A.· ·It is possible that he was aware and

13· ·did experience pain.

14· · · ·Q.· ·But you cannot state that to a

15· ·reasonable degree of medical probability,

16· ·correct?

17· · · ·MS. RAVEENDRAN:· Objection to form.

18· · · ·THE WITNESS:· I would imagine gunshot wounds

19· ·are very painful.· I have never had one.

20· ·BY MS. LIND:

21· · · ·Q.· ·Do you have any evidence that he

22· ·was awake and aware for any length of time?

23· · · ·A.· ·Nothing specific, no.

24· · · ·Q.· ·And your testimony on those particular


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·1· ·STATE OF ILLINOIS· · ·)

·2· · · · · · · · · · · · ·)· ·SS:

·3· ·COUNTY OF C O O K· · ·)

·4· · · · · I, MARLENE L. KING, a Certified Shorthand

·5· ·Reporter within and for the County of Cook

·6· ·and State of Illinois, do hereby certify

·7· ·that heretofore, to-wit, on December 18, 2024,

·8· ·personally appeared before me via Zoom,

·9· ·STACI TURNER, M.D., in a cause now pending

10· ·and undetermined in the United States District

11· ·Court for the Southern District of Mississippi,

12· ·wherein CATINA PARKER, as Personal

13· ·Representative of the Estate of LEONARD PARKER,

14· ·JR., deceased is the Plaintiff, and THE CITY OF

15· ·GULFPORT, a municipal corporation; JASON CUEVAS,

16· ·in his individual and official capacity are the

17· ·Defendants.

18· · · · · I further certify that the said STACI

19· ·TURNER, M.D. was first duly sworn to testify the

20· ·truth, the whole truth and nothing but the truth

21· ·in the cause aforesaid; that the testimony then

22· ·given by said witness was reported

23· ·stenographically by me in the presence of the

24· ·said witness via Zoom, and afterwards reduced to


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·1· ·manner of speak.· I'm sorry, Marlene.· So we're

·2· ·gonna turn up our volume here.· There we go.

·3· ·BY MR. BRUNI:

·4· · · ·Q.· ·With respect to consistency, Doctor,

·5· ·the path of the bullet, there are some questions

·6· ·asked by both attorneys previously.· Let me ask

·7· ·you this.· With respect to the bullet path that

·8· ·you viewed in your autopsy, would it be also

·9· ·consistent with the muzzle of the gun of the

10· ·officer being located at the front of the

11· ·decedent?

12· · · ·A.· ·Yes.

13· · · ·Q.· ·Okay.· And Doctor, I apologize.· I was

14· ·trying to follow this earlier.· But were you

15· ·made aware of the fact that at the time that the

16· ·gunshot occurred, that the decedent was sitting

17· ·in the driver's seat of a truck?

18· · · ·A.· ·Not that I recall.

19· · · ·Q.· ·Okay.· If I were to tell you that the

20· ·decedent was in the driver's seat of the truck,

21· ·would it be consistent on the basis of what you

22· ·viewed in your autopsy that the officer would

23· ·have been firing the gunshot or gunshots when

24· ·in the front of the pickup truck?


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·1· · · ·A.· ·Yes.

·2· · · ·Q.· ·And Doctor, with respect to the autopsy

·3· ·report and the information that appears in your

·4· ·files, correct me if I'm wrong, but you're not

·5· ·being asked to give an opinion or to state any

·6· ·kind of opinion in your reports with respect to

·7· ·the circumstances that led up to the death of

·8· ·the decedent, is that correct?

·9· · · ·A.· ·That's correct.

10· · · ·Q.· ·So you've not been asked in -- rather

11· ·let me restate that.· You cannot give an opinion

12· ·in your deposition today about whether the

13· ·person that fired the gun was either justified

14· ·by law or not justified by law with respect to

15· ·firing that gun at the time, is that correct?

16· · · ·A.· ·I have no opinion on that.

17· · · ·Q.· ·Yes, ma'am.· Doctor, with respect to

18· ·the coroner's report do you recall whether the

19· ·coroner had any conversations with you at any

20· ·point in time prior to your completion of your

21· ·autopsy report?

22· · · ·A.· ·I don't recall.

23· · · ·Q.· ·And would that be something that would

24· ·be routine with respect to conversations with


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·1· ·typewriting by Computer-Aided Transcription, and

·2· ·the foregoing is a true and correct transcript

·3· ·of the testimony so given by said witness as

·4· ·aforesaid.

·5· · · · · I further certify that the signature to

·6· ·the foregoing deposition was waived by counsel

·7· ·for the respective parties.

·8· · · · · I further certify that the taking of this

·9· ·deposition was pursuant to Notice and that there

10· ·were present at the deposition the attorneys

11· ·hereinbefore mentioned.

12· · · · · I further certify that I am not counsel

13· ·for nor in any way related to the parties to

14· ·this suit, nor am I in any way interested in the

15· ·outcome thereof.

16· · · · · IN TESTIMONY WHEREOF:· I have hereunto

17· ·set my verified digital signature this 30th day

18· ·of December, 2024.

19

20

21· · · · · · · ·__________________________________

22· · · · · · · · · · LICENSE NO. 084-003326

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